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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN

 ROBERT SILER, #374576,
                                           No. 2:08-cv-15077
              Plaintiff,
                                           Honorable Patrick J. Duggan
 v.
                                           Magistrate Judge Mona K. Majzoub
 W. BALDWIN, et al.,

              Defendants.
 Tricia L. Roelofs (P72383)                Clifton B. Schneider (P70582)
 Heidi A. Naasko (PP58783)                 Assistant Attorney General
 David J. Council (P73163)                 Attorney for Defendants
 Robert Franzinger (P25539)                Corrections Division
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      DEFENDANT BALDWIN’S MOTION TO DISQUALIFY PLAINTIFF’S
       PURPORTED EXPERT WITNESS, BRYAN JUDGE, M.D., OR TO
         CONDUCT A DAUBERT HEARING TO DETERMINE THE
       ADMISSIBILITY OF HIS TESTIMONY UNDER FED. R. EVID. 702


       Defendant Baldwin, by counsel, hereby moves to have the Court preclude the

 plaintiff’s purported expert, Bryan Judge, from testifying at trial in this matter or,

 in the alternative, to conduct a Daubert hearing to determine the admissibility of

 the testimony under Federal Rules of Evidence 702. This motion is based on Rule

 702, Daubert v. Merrell Dow Pharmaceuticals, Inc. and its progeny, and the other



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 reasons set forth in the accompanying brief. Concurrence in this motion was sought

 from the plaintiff’s counsel, but concurrence was denied.

                                               Respectfully submitted,

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 Dated: August 10, 2012                        P70582




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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN

 ROBERT SILER, #374576,
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             Plaintiff,
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     DEFENDANT BALDWIN’S BRIEF IN SUPPORT OF MOTION TO
   DISQUALIFY PLAINTIFF’S PURPORTED EXPERT WITNESS, BRYAN
  JUDGE, M.D., OR TO CONDUCT A DAUBERT HEARING TO DETERMINE
   THE ADMISSIBILITY OF HIS TESTIMONY UNDER FED. R. EVID. 702

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              CONCISE STATEMENT OF ISSUES PRESENTED

       1.    Federal caselaw requires that expert opinions be reliable. With regard
             to the claim remaining in this case, Dr. Judge concludes that an
             alleged fall from a bunk “could have” or “may have” worsened a pre-
             existing condition of the plaintiff’s. Should Dr. Judge’s opinions be
             excluded as unreliable because they are not made with any degree of
             medical certainty?

       2.    Relevance is required for an expert opinion to be admissible.
             Relevance is defined by helpfulness to the jury. Here, Dr. Judge
             concludes that if the plaintiff fell from his bunk, hit his head, and lost
             consciousness, he should have been evaluated by medical staff. He
             also concludes that the plaintiff “may have” been injured in the alleged
             fall. Should Dr. Judge’s opinion be excluded as not relevant because it
             does not go beyond the ken of common knowledge and common sense?




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                              STATEMENT OF FACTS

       This is a prisoner civil-rights action. The sole remaining claim is that

 Defendant Baldwin was allegedly deliberately indifferent to the plaintiff’s medical

 needs on July 28, 2008, when the plaintiff allegedly fell from his bunk and hit his

 head. Regarding this claim, the Court has held as follows, “If Baldwin knew that

 Plaintiff was suffering from a serious medical need and that he was waiting near

 her office for a response from health services but nonetheless informed health

 services that he was off on the basketball courts to interfere with what would

 otherwise have been an immediate response by health services, those facts would

 indicate deliberate indifference.” [D/E #90, page 7].

       The plaintiff has submitted an expert report completed by Bryan Judge, M.D.

 [Attached as Exhibit A]. Notably, Dr. Judge’s resume indicates that he has no

 experience in any prison or jail setting. [Curriculum Vitae, attached as Exhibit B].

 Dr. Judge’s report concludes that the plaintiff suffered a cervical radiculopathy in

 October 2007. [Exhibit A, page 2]. Dr. Judge criticizes the care provided for that

 condition and indicates that an MRI was performed 16 months after the injury

 occurred rather than after 4-6 weeks, which he states is the standard of care in a

 community setting (Dr. Judge does not and is not qualified to testify regarding the

 standard of care in a prison setting). [Exhibit A, page 3]. He also criticizes the pain

 medications prescribed as insufficient. [Exhibit A, page 3].

       With regard to the actual claim in this case, Dr. Judge assumes that the

 plaintiff fell from his bunk, struck his head and neck, and lost consciousness.

 [Exhibit A, page 3, ¶ 10]. Dr. Judge “takes issue” with the alleged denial of a


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 medical evaluation after the alleged fall from the bunk. [Exhibit A, page 4]. Dr.

 Judge opines that the fall “could have certainly worsened [the plaintiff’s]

 radiculopathy and resulted in a serious closed head injury that is not always

 apparent to a person without medical training.” [Exhibit A, page 4]. He opines that

 a “prompt medical evaluation should have been performed.” [Exhibit A, page 4].

 Finally, Dr. Judge concludes, “this fall may have worsened his radiculopathy and a

 prompt medical evaluation should have been performed to rule out a serious neck or

 back injury.” [Exhibit A, page 4].


                                      ARGUMENT

       In this case, expert reports were due on April 18, 2012. [D/E #156].

 Pursuant to Federal Rules of Civil Procedure 26(a)(2)(B)(i), Dr. Judge’s report was

 required to include a complete statement of all opinions he would express and the

 basis and reasons for them. He was also required to disclose the facts and data

 considered in forming his opinions. Fed. R. Civ. P. 26(a)(2)(B)(ii). Based on Dr.

 Judge’s expert report, Dr. Judge’s opinions are neither reliable nor relevant.

       In Daubert v. Merrell Dow Pharmaceuticals, Inc. and Kumho Tire Co., Ltd. v.

 Carmichael, the United States Supreme Court firmly established the district court’s

 role as gatekeeper of expert testimony. Daubert, 509 U.S. 579, 589 (1993); Kumho

 Tire, 526 U.S. 137, 141 (1999). The Rules of Evidence, according to the Court,

 “assign the trial judge the task of insuring that an expert’s testimony both rests on

 a reliable foundation and is relevant to the task at hand.” Daubert, 509 U.S. at 597.




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 Federal Rule of Evidence 702 codifies this standard, setting out several hurdles for

 a party seeking to admit expert testimony:

       A witness who is qualified as an expert by knowledge, skill, experience,
       training, or education may testify in the form of an opinion or
       otherwise if:

       (a) the expert’s scientific, technical, or other specialized knowledge will
       help the trier of fact to understand the evidence or to determine a fact
       in issue;

       (b) the testimony is based on sufficient facts or data;

       (c) the testimony is the product of reliable principles and methods; and

       (d) the expert has reliably applied the principles and methods to the
       facts of the case.

 Fed. R. Evid. 702. Under this rule, the expert’s proffered testimony must “help the

 trier of fact to understand the evidence or to determine a fact in issue.” Id. In

 addition, the testimony must be triply reliable: it must be based on (1) reliable

 principles and methods that are (2) reliably applied to (3) reliable facts and data.

 Id.

       The district court has broad discretion in admitting or rejecting expert

 testimony. Morales v. American Honda Motor Co., 151 F.3d 500, 514 (6th Cir.

 1998). Its decisions, however, “must be made upon the evidence of the witness’s

 qualifications, or lack thereof, and not upon the trial court’s personal views.”

 Kingsley Associates, Inc. v. Del-Met, Inc., 918 F.2d 1277, 1286 (6th Cir. 1990)

 (citations omitted). The party offering expert testimony bears the burden of

 establishing its admissibility by a preponderance of the evidence. Nelson v. Tenn.




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 Gas Pipeline Co., 243 F.3d 244, 251 (6th Cir. 2001) (citing Daubert, 509 U.S. at 592,

 n. 10).

           In order to satisfy that burden, the proffered expert testimony must meet the

 demands of Federal Rules of Evidence 702. Daubert, 509 U.S. 579. An “expert’s

 bald assurance of validity is not enough.” Smelser v. Norfolk Southern Railway Co.,

 105 F.3d 299, 303 (6th Cir. 1997). Nevertheless, Rule 702’s requirements are

 applied liberally, leaving “[v]igorous cross-examination, presentation of contrary

 evidence, and careful instruction on the burden of proof [as] the traditional and

 appropriate means of attacking shaky but admissible evidence.” Daubert, 509 U.S.

 at 596; see also Pride v. Bic Corp., 218 F.3d 566, 577 (6th Cir. 2000).

           Expert testimony may only be admitted into evidence if (1) the methodology

 by which the expert reaches his or her conclusions is sufficiently reliable

 (“Reliability Test”); (2) the expert’s testimony will assist the trier of fact to

 understand the evidence or determine a fact in issue (“Relevancy Test”); and (3) the

 witness qualifies as an expert (“Qualifications Test”). Daubert, 509 U.S. at 589-91.

           The first inquiry is whether the testimony of the proposed expert is reliable

 and trustworthy. In re Northwest Airlines Corp., 197 F. Supp. 2d 908, 913 (E.D.

 Mich. Mar. 29, 2002) (Rosen, J.). “Rule 702 restates Daubert’s insistence on the

 requirements that an expert’s opinion be based on a foundation grounded in the

 actual facts of the case, that the opinion is valid according to the discipline that

 furnished the base of special knowledge, and that the expert appropriately ‘fits’ the

 facts of the case into the theories and methods he or she espouses.” Bd. Of Trs.,




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 Sheet Metal Workers’ Nat’l Pension Fund v. Palladium Equity Partners, LLC, 722 F.

 Supp. 2d 845, 852 (E.D. Mich. 2010) (Lawson, J.) (citing Daubert, 509 U.S. at 591-

 93). This inquiry has both quantitative and qualitative components. In re

 Northwest Airlines Corp., 197 F. Supp. 2d at 913.

        Quantitatively, the plaintiff must demonstrate that the expert testimony is

 “based upon sufficient facts or data.” Id. at 914. The Sixth Circuit has explained

 this test as follows:

        An expert’s opinions must be supported by ‘more than subjective belief
        and unsupported speculation’ and should be supported by ‘good
        grounds,’ based on what is known. The expert’s conclusions regarding
        causation must have a basis in established fact and cannot be
        premised on mere suppositions. An expert’s opinions, where based on
        assumed facts, must find some support for those assumptions in the
        record.

 McLean v. 988011, Ltd., 224 F.3d 797, 800-01 (6th Cir. 2000) (citations omitted).

        Qualitatively, the plaintiff must demonstrate that the expert’s opinions “rest

 upon a foundation of reliable principles and methods.” In re Northwest Airlines

 Corp., 197 F. Supp. 2d at 913. The factors that the Court may look to in making

 this assessment include “the testability of the expert’s hypotheses (whether they

 can be or have been tested), whether the expert’s methodology has been subjected to

 peer review, the rate of error associated with the methodology, and whether the

 methodology is generally accepted in the [relevant] community.” Berry v. Crown

 Equipment Corp., 108 F. Supp. 2d 743, 749 (E.D. Mich. Aug. 16, 2000) (Rosen, J.).

        In addition to examining the reliability of expert testimony, Daubert also

 requires courts to consider the relevancy of such evidence. Cook v. American S.S.

 Co., 53 F.3d 733, 737-38 (6th Cir. 1995). The relevancy inquiry seeks to determine


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  whether the proposed expert testimony will assist the trier of fact. In re Northwest

  Airlines, 197 F. Supp. 2d at 914 (quoting Pride v. BIC Corp., 218 F.3d 566, 578 (6th

  Cir. 2000)). “Such testimony is unhelpful when it is unreliable or irrelevant, as the

  Court observed in Daubert . . . and also when it merely deals with a proposition that

  is not beyond the ken of common knowledge.” Zuzula v. ABB Power T&D Co., 267

  F. Supp. 2d 703, 711 (E.D. Mich. June 3, 2003) (Lawson, J.). Expert opinions must

  “account for” and cannot simply “ignore[] inconvenient evidence.” In re Northwest

  Airlines Corp., 197 F. Supp. 2d at 914 (quoting Concord Boat Corp. v. Brunswick

  Corp., 207 F.3d 1039, 1056-57 (8th Cir. 2000)). It is well established that an expert

  witness’s testimony is not helpful “where the jury has no need for an opinion

  because it easily can be derived from common sense, common experience, the jury’s

  own perceptions, or simple logic.” Charles Alan Wright et al., 29 Federal Practice &

  Procedure Evidence § 6264.


  I.    Dr. Judge’s opinion is not reliable because his opinions are not
        stated with any degree of medical certainty whatsoever.

        Dr. Judge’s opinions lack any degree of reasonable probability. Dr. Judge

  opines that the alleged fall from the bunk “could have” or “may have” worsened the

  plaintiff’s pre-existing condition. Dr. Judge uses terms such as “could” and “may”

  because he cannot say with any degree of authority whether the plaintiff’s condition

  was in fact worsened. Dr. Judge also notes that the plaintiff allegedly fell from his

  bunk on July 28, and radiographs of his neck and left shoulder were performed on

  August 1, four days later. [Exhibit A, page 3, ¶ 10]. Dr. Judge does not even opine




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  on whether this 4-day delay in treatment actually caused any injury to the plaintiff.

  Dr. Judge’s speculative opinions are the very type of opinions that Rule 702 was

  meant to exclude.


  II.   Dr. Judge’s opinion is not relevant because it will not be helpful to
        the jury in deciding any material fact at issue in this case.

        Dr. Judge does not employ any scientific principles or methodology to the

  facts in this case in forming his opinions. Rather, he merely accepts the plaintiff’s

  version of events from the second amended complaint and makes plain observations

  that are not beyond the ken of common knowledge. The jury is free and able to

  make the same observations that Dr. Judge makes.

        Dr. Judge opines that an inmate who falls from a bunk, strikes his head and

  neck, and loses consciousness should be evaluated by medical staff. Such conclusion

  is not beyond the ken of common knowledge – it can easily be derived from “common

  sense, common experience, the jury’s own perceptions, or simple logic.” This is even

  more evident by the fact that Dr. Judge is testifying as to what nursing staff or

  prison guards should have done – Dr. Judge is not a nurse, has no corrections

  experience, and is not qualified to testify as to the nursing standard of care, in or

  out of the prison setting.

        The same is true of the statement that the plaintiff’s pre-existing medical

  condition “could have” or “may have” worsened as a result of the fall. Nowhere does

  Dr. Judge opine that the plaintiff’s condition did in fact get worse. Nowhere does

  Dr. Judge opine that any delay caused by Baldwin caused any injury to the plaintiff.




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        Although the facts surrounding the alleged fall from the bunk are hotly

  contested, if the jury concludes that the plaintiff did in fact fall, hit his head, and

  lose consciousness, they can reach the same conclusions as Dr. Judge: a person

  might get hurt falling, and they should be seen by healthcare. They would then

  have to decide whether Baldwin knew of the injury and prevented healthcare from

  evaluating the plaintiff. Dr. Judge’s opinions are not relevant because they are not

  helpful.

        Dr. Judge’s opinions related to the care provided to the plaintiff relating to

  his October 2007 injury are also not relevant and not helpful. There is no claim in

  this case related to that care, and no person associated with that care is a party to

  this case.




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                               CONCLUSION AND RELIEF REQUESTED

            Defendant Baldwin respectfully requests that the Court grant her motion

  and exclude the testimony of Dr. Judge. Alternatively, the defendant requests that

  the Court hold a Daubert hearing, where the defendant would have the opportunity

  to voir dire Dr. Judge, and the Court could determine the admissibility of his

  opinions.

                                                                       Respectfully submitted,

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  CERTIFICATE OF SERVICE: I certify that on August 10, 2012, I electronically filed the foregoing
  document with the Clerk of the Court using the ECF system, which will provide electronic copies to
  counsel of record.

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